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          Darrin Johnston
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      8
                                 IN THE UNITED STATES DISTRICT COURT FOR THE
      9
                                         EASTERN DISTRICT OF CALIFORNIA
     10

     11
          UNITED STATES OF AMERICA,                            )   Case No: 10-191 JAM
     12                                                        )
                         Plaintiff,                            )   STIPULATION AND ORDER
     13                                                        )   CONTINUING STATUS CONFERENCE
                 vs.                                           )   AND EXCLUDING TIME UNDER THE
     14                                                        )   SPEEDY TRIAL ACT
          Todd Allen Smith, et. al.                            )
     15                                                        )   Date: 11-16-10
                         Defendants.                           )   Time: 9:30 a.m.
     16                                                        )   Courtroom: Honorable John A. Mendez
                                                               )
     17                                                        )
                                                               )
     18

     19

     20          Defendants Jeremiah Martin, Darrin Johnston, Todd Smith and Cheryl Peterson by and through

     21   their undersigned defense counsel and plaintiff United States of America, through its counsel, Assistant

     22   United States Attorney Matthew Stegman, agree and stipulate that the current status conference set for

     23   November 16, 2010, in the above case, shall be re-scheduled for January 18, 2011 at 9:30 a.m.

     24          The parties further agree and stipulate that under 18 U.S.C. §3161(h)(7)(B) (iv), and Local Code

     25   T4, time from the date of this stipulation shall be excluded from computation of time within which the

     26   trial of this matter must be commenced under the Speedy Trial Act until and including January 18, 2011,

     27   for counsel preparation time and to permit the parties to further investigate, review and complete the

     28   exchange of discovery, and prepare the case for further proceedings. The parties further stipulate and



                                              Stipulation and Proposed Order Continuing Status Conference
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      1   agree that the interests of justice served by granting the continuance outweigh the best interests of the

      2   public and the defendant in a speedy trial.

      3          The Court is advised that all counsel have conferred about this request, that they have agreed on

      4   the January 18, 2011, date, and that all defense counsel have authorized Mr. Hanly to sign this

      5   stipulation on their behalf.

      6          IT IS SO STIPULATED.

      7
          Dated: November 9, 2010                                  /S/ PATRICK K. HANLY
      8                                                               Attorney for Defendant
                                                                      Darrin Johnston
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     10
          Dated: November 9, 2010                                  /S/ PATRICK K. HANLY
     11                                                               For Douglas Beevers
                                                                      Attorney for Defendant
     12                                                               Cheryl Peterson
     13

     14   Dated: November 9, 2010                                  /S/ PATRICK K. HANLY
                                                                      For Bruce Locke
     15                                                               Attorney for Defendant
                                                                      Todd Allen Smith
     16

     17
          Dated: November 9, 2010                                  /S/ PATRICK K. HANLY
     18                                                               For Courtney Linn
                                                                      Attorney for Defendant
     19                                                               Jeremiah Martin
     20
          Dated: November 12, 2010                                 /S/ MATTHEW STEGMAN
     21                                                               Matthew Stegman
                                                                       Assistant United States Attorney
     22

     23
                                                             ORDER
     24
                 IT IS SO ORDERED.
     25

     26          Dated: November 15, 2010
                                                                      /s/ John A. Mendez________________________
     27
                                                                              HONORABLE JOHN A. MENDEZ
     28
                                                                      UNITED STATES DISTRICT COURT JUDGE
                                                                     -2-
                                         Stipulation and Proposed Order Continuing Status Conference
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